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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                   CASE NO: 8:12-cr-162-T-EAK-TBM

FELIPE BARRIOS


   Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                    U.S.C. § 3582(c)(2) Based on USSG Amend. 782

       Before the Court is the defendant’s motion to reduce his prison term under 18 U.S.C. §

3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

§1B1.10(d) (2014). Doc.# 306. The United States does not oppose a reduction. Doc. #306. The

parties stipulate that he is eligible for a reduction because Amendment 782 reduces the guideline

range applicable to him, see USSG §1B1.10(a)(1). Doc. #306. The Court agrees that he is

eligible for a reduction and adopts the amended guideline calculations in the parties’ stipulation.

Doc. #306.

       Having reviewed the facts in both the original presentence investigation report and the

February 13, 2015 memorandum from the United States Probation Office in light of the factors

in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed

by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 16

months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical

difficulties of a possible release date on Sunday, November 1, 2015, the effective date of this

order is November 2, 2015.

       Thus:

       (1)     The Court grants the defendant’s motion, Doc. #306.

       (2)     The Court reduces the defendant’s prison term from 78 to 62 months or time

               served, whichever is greater.
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       (3)    The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on September 28, 2015.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
United States Pretrial Services
